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                 UNITED STATES DISTRICT COURT
           FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JACOB BRICKMAN,

      Plaintiff,

v.                                            Civil Action No.: _______

EXACTECH, INC.,

      Defendant.


                      COMPLAINT AND JURY DEMAND

      NOW COMES Plaintiff JACOB BRICKMAN (“Plaintiff”) by and through

his undersigned attorneys, and brings this action against EXACTECH, INC.

(“EXACTECH” or “Defendant”), for personal injuries suffered as a proximate result

of the implantation of an Optetrak Comprehensive Total Knee System (hereafter,

“Optetrak Device”) and alleges as follows:

                          NATURE OF THE ACTION

      1.     This is an action for damages relating to Defendant’s development,

designing, testing, assembling, manufacturing, packaging, monitoring, labeling,

preparing, distribution, marketing, supplying, storage, and/or selling of the Optetrak



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Device. The Optetrak Devices, as referred to in this Complaint, include the Optetrak

Device and the Optetrak Logic Comprehensive Knee System.

      2.     Thousands of patients, like Plaintiff JACOB BRICKMAN, have been,

and/or will be, required to undergo extensive revision surgery to remove and replace

defective Optetrak Devices due to a recent recall of these devices in which the

Defendant has admitted to failing to properly package the polyethylene insert, a

necessary component of the Optetrak Devices.

      3.     As a result of Defendant’s failure to properly package the Optetrak

Device prior to distribution, the polyethylene liner prematurely degraded and

Plaintiff required revision surgeries due to severe pain, swelling, and instability in

the knee and leg. These injuries were caused by early and preventable wear of the

polyethylene insert and resulting component loosening and/or other failures causing

serious complications including tissue damage, osteolysis, permanent bone loss and

other injuries.

      4.     Recipients of Optetrak Devices, like the Plaintiff, have been required

to undergo revision surgeries well before the estimated life expectancy of a knee

implant and at a much higher rate than should reasonably be expected for devices of




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this kind and have suffered pain and disability leading up to and subsequent to the

revision surgery.

      5.     Despite knowledge that the Optetrak Devices were defective and

resulted in premature failures and accompanying complications, Defendant only first

issued a nationwide recall on February 7, 2022 advising the public that “most of our

inserts since 2004 were packaged in out-of-specification … vacuum bags that are

oxygen resistant but do not contain a secondary barrier layer containing ethylene

vinyl alcohol (EVOH) that further augments oxygen resistance.”

      6.     As a direct and proximate result of the defective nature of Defendant’s

Optetrak Device surgically implanted in Plaintiff which necessitated premature

removal, Plaintiff suffered and will continue to suffer serious personal injuries,

including pain, impaired mobility, rehabilitation, medical care, loss of enjoyment of

life, and other medical and non-medical sequalae.

      7.     Plaintiff brings this action for personal injuries suffered as a proximate

result of failure of the Optetrak Device. Plaintiff accordingly seeks compensatory

and punitive damages, and all other available remedies provided to Plaintiff under

the law as a result of injuries JACOB BRICKMAN sustained due to the Defendant’s

negligent, reckless and wrongful conduct.


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                                     PARTIES

      8.     Plaintiff JACOB BRICKMAN is a resident and citizen of Warminster,

County of Bucks, Pennsylvania.

      9.     Defendant EXACTECH, INC. is a Florida corporation with its

principal place of business located at 2320 NW 66th Court, Gainesville, Florida

32653. It can be served c/o its Registered Agent Corporation Service Company,

2595 Interstate Drive, Suite 103, Harrisburg, PA 17110.

      10.    Defendant EXACTECH, INC. develops, manufactures, packages,

stores, distributes, markets, and sells orthopedic implant devices, including Optetrak

Devices and related surgical instrumentation throughout the United States, including

in and throughout the United States and the State of Pennsylvania.

      11.    Defendant EXACTECH, INC. manufactured the Optetrak Device

implanted in Plaintiff JACOB BRICKMAN.

      12.    At all times relevant to this action, Defendant EXACTECH, INC.

tested, studied, researched, designed, formulated, manufactured, inspected, labeled,

packaged, promoted, advertised, marketed, distributed, and/or sold Optetrak Devices

in interstate commerce and throughout the State of Pennsylvania and generated

substantial revenue as a result.


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                           JURISDICTION AND VENUE

       13.    This Court has jurisdiction over this action pursuant to 28 U.S.C § 1332,

because the amount in controversy exceeds Seventy-Five Thousand Dollars

($75,000.00), exclusive of interest and costs, and because there is complete diversity

of citizenship between the Plaintiff and Defendant.

       14.    The Court has personal jurisdiction over Defendant because at all

relevant times it engaged in substantial business activities in the State of

Pennsylvania. At all relevant times, Defendant transacted, solicited, and conducted

business in Pennsylvania through its employees, agents, and/or sales representatives,

and derived substantial revenue from such business in Pennsylvania.

       15.    Venue is proper in this judicial district pursuant to 28 U.S.C § 1391

because Plaintiff is a citizen and resident of Bucks County, Pennsylvania, and

because a substantial part of the events or omissions giving rise to the claim occurred

within this judicial district.

                             FACTUAL BACKGROUND

       16.    At all times material hereto, Defendant designed, developed tested,

assembled, selected, manufactured, packaged, labeled, prepared, distributed,




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marketed, supplied, warranted, and/or sold the Optetrak Devices to hospitals and

physicians in many states, including Pennsylvania.

      17.    Defendant obtained 510(k) clearance from the Food and Drug

Administration (“FDA”) for various Optetrak Devices and components between

1994 and 2017, including marketing under the names: Optetrak, Optetrak Logic and

Truliant.

      18.    510(k) clearance is distinct from the FDA’s pre-market approval

(“PMA”) process in that clearance does not require clinically controlled trials and

FDA confirmation of safety and effectiveness, and as such the manufacturer retains

all liability for the assertions of safety and effectiveness.

      19.    510(k) clearance is premised upon the manufacturer’s representations

to the FDA under section 510(k) of the Medical Device Amendments of 1976 to the

Food Device Cosmetic Act (MDA) of its intent to market a device.

      20.    All the component parts comprising Plaintiff’s Optetrak Device were

cleared for marketing by the FDA pursuant to the 510(k) process or were marketed

without receiving either 510(k) clearance or PMA approval by the FDA.




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      21.    The Optetrak Device is classified as a knee joint patellofemorotibial

polymer/ metal /polymer semi-constrained cemented prosthesis. It features a mix of

polyethylene and metal-based components.

      22.    According to the Defendant, the Optetrak Device “introduces novel

implants and instruments to make the total knee procedure, easier, faster and more

consistent, improving patient satisfaction for a more diverse population requiring

total knee replacements.”

      23.    The Optetrak Device is comprised of the following parts: a patellar cap,

femoral cap, tibial insert, and tibial tray, as shown above.




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      24.   The patellar cap and tibial insert are made of ultra-high molecular

weight polyethylene (“UHMWPE”).

      25.   Defendant touted the Optetrak Device as being first-in-class in its

product brochures.

      26.   In its marketing materials, the Defendant promised that Optetrak

Devices had excellent long-term clinical outcomes and that “surgeons and patients

can have every confidence in the performance and longevity of the Optetrak knee

system.”

      27.   Defendant promoted its Optetrak Devices as systems with nearly three

decades of clinical success and proven outcomes for patients around the world

because of an improved articular design resulting in low polyethylene stresses.

      28.   However, Optetrak Devices have performed poorly when compared to

their competitors. For example, the Australian Orthopaedic Association, a

preeminent, internationally recognized orthopedic implant registry, has identified

the Optetrak Device as an implant with a higher than expected rate of revision.

      29.   According to the 2020 Australian National Joint Replacement Registry,

the rate of revision for a total knee replacement utilizing an Optetrak tibial

component with a Optetrak-CR femoral component was 8.5% at ten years and 10.2%


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at ten years when implanted with a Opetrak-PS femoral component, which far

exceeds international guidelines for accepted revision rates.

      30.    Per   the   recommendations       established   by    the   International

Benchmarking Working Group and applied by the Australian Orthopaedic

Association, the Optetrak Devices do not qualify for a “superiority benchmark” or

even a “non-inferiority benchmark.”

      31.    At all relevant times, Defendant has been aware of a high rate of early

failures associated with the Optetrak Devices.

      32.    Upon information and belief, by the beginning of 2011, Defendant had

clinical evidence that Optetrak Devices were failing at a rate higher than promoted.

Reports in the Manufacturer and User Facility Device Experience (MAUDE)

indicate instances of revision due to “loose tibial component”, “aseptic loosening”,

“pain and visible loosening”, “polyethylene deformation”, “polyethylene worn”, and

“pain, limited mobility, knee swelling and sensitivity” due to “loose” joint.

      33.    Prior to Plaintiffs’ knee implants with Optetrak Devices in 2011,

complaints continued to be reported to Defendant and the FDA. Examples include

revision for “tibial loosening” just two years postoperatively, “revision due to tibial

loosening”, “during revision, the tibial component was found to be loose and easily


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removed”, “revision of knee component due to loosening”, “revision due to pain and

loosening.”

      34.     The general practice in orthopedic implant surgeries generally, and with

Exactech implants specifically, is for the authorized representative and agent,

hereinafter “the sales rep”, to be present at the time of surgery to provide technical

knowledge, tools, and in many cases implant components to the surgeon. This

practice is utilized in both implant or “index” and any revision surgeries.

      35.     Based upon the industry norms and the policies of Defendant, Exactech

sales reps were present during surgeries, observing many instances of premature

failures of the Optetrak Devices, with plain evidence upon revision of polyethylene

debris that needed to be removed, a/k/a “debrided”, visible bone loss or osteolysis

and plainly loose components that were easy to remove due to fixation failures. As

is the norm of the industry, it is believed that Defendant’s sales reps would take

explanted Optetrak Device components from the surgeon to return to the company

for inspection and analysis.

      36.     The Exactech sales reps were under a duty to report findings of

premature failure, defect, complaints, revisions, and other instances providing notice

of adverse events to the engineering and medical departments of Exactech, which


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were under a duty to then do an investigation, analyze the removed component when

available, also known as “retrieval analysis,” and to honestly and thoroughly report

such findings to the FDA and the surgeons.

      37.    Despite Defendant’s knowledge of early onset failures of Optetrak

Devices, Defendant continued to manufacture, promote, and distribute Optetrak

Devices without alerting surgeons or patients of the potential increased risks of early

onset failures of the Optetrak Devices.

      38.    Defendant never changed the labeling, marketing materials, or product

inserts to adequately and accurately warn patients or physicians of the associated

increased risks of early failure due to adverse reaction to debris, increased wear

debris associated with the tibial insert, and risks associated with moderately cross-

linked polyethylene.

      39.    It was not until August 30, 2021 that the Defendant took some action

and issued a recall of Optetrak all-polyethylene tibial components, including the

OPTETRAK polyethylene CC Tibial Components; OPTETRAK All-polyethylene

CR Tibial Components; OPTETRAK All-polyethylene CR Tibial Sloped

Components; OPTERAK All-polyethylene PS Tibial Components; OPTETRAK

HI-FLEX PS Polyethylene Tibial Components; OPTETRAK Logic All-


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polyethylene CR Tibial Components; OPTETRAK Logic All-polyethylene CRC

Tibial Components; OPTETRAK Logic All-polyethylene PSC Tibial Components;

OPTETRAK Logic Modular PS Tibial Components; OPTETRAK Logic RBK PS

Tibial Components; TRULIANT CR Tibial Inserts; TRULIANT CRC Tibial Inserts;

TRULIANT PS Tibial Inserts; and TRULIANT PSC Tibial Inserts.

      40.    In issuing the August 2021 recall, Defendant stated “inserts were

packaged in vacuum bags that lacked an additional oxygen barrier layer.” See “Class

2 Device Recall OPTETRAK Comprehensive Knee System”, FDA, available at

https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfRes/res.cfm?ID=189266 (last

visited June 6, 2022).

      41.    According to the FDA website, “Exactech began notification to

distributors and sales representatives on about 08/30/2021 via letter titled "URGENT

MEDICAL DEVICE RECALL." Actions taken by Exactech included removing all

Knee and Ankle UHMWPE products labeled with an 8-year shelf life and not

packaged in EVOH/Nylon bags, to “be performed in a phased approach over the

next 12 months. Phase 1 includes immediately return all knee and ankle UHMWPE

devices labeled with an 8-year shelf life that will be 5 years old or older by

08/31/2022 not packaged in EVOH/Nylon bags. Phase 2 includes, between


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05/31/2022 to 08/31/2022, returning all remaining knee and ankle UHMWPE

devices labeled with an 8-year shelf life not packaged in EVOH/Nylon bags.” Id.

      42.   Despite    initial   communications    with   distributors   and     sales

representatives, Defendant did not issue notice, warning, or communications to

surgeons who had implanted Optetrak Devices with recalled polyethylene

components or to patients who had received Optetrak Devices with a recalled

polyethylene component about the risks, defect and/or recall until months later, in

February 2022.

      43.   On February 7, 2022, Defendant issued an “Urgent Medical Device

Correction” in which it informed health care professionals that:

      After extensive testing, we have confirmed that most of our inserts
      manufactured since 2004 were packaged in out-of-specification
      (referred to hereafter as “nonconforming”) vacuum bags that are
      oxygen resistant but do not contain a secondary barrier layer containing
      ethylene vinyl alcohol (EVOH) that further augments oxygen
      resistance. The use of these non-conforming bags may enable
      increased oxygen diffusion to the UHMWPE (ultra-high molecular
      weight polyethylene) insert, resulting in increased oxidation of the
      material relative to inserts packaged with the specified additional
      oxygen barrier layer. Over time, oxidation can severely degrade the
      mechanical properties of conventional UHMWPE, which, in
      conjunction with other surgical factors, can lead to both
      accelerated wear debris production and bone loss, and/or
      component fatigue cracking/fracture, all leading to corrective
      revision surgery.


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(Emphasis in original).

      44.    On or about April 6, 2022, Exactech removed the

aforementioned February 7, 2022 letter from its website and replaced it with

a version dated April 7, 2022 that now states in relevant part:

      After extensive testing, we have confirmed that approximately 80%
      of our inserts manufactured since 2004 were packaged in out-of-
      specification (referred to hereafter as “non-conforming”) vacuum
      bags that are oxygen resistant but do not contain a secondary barrier
      layer containing ethylene vinyl alcohol (EVOH) that further augments
      oxygen resistance.

(Emphasis added). See Exactech Urgent Medical Device Correction Letter to

Exactech Knee and Ankle Surgeons, Hospitals, Health Care Professionals, Apr. 7,

2022, available at https://www.exac.com/wp-content/uploads/2022/04/Exactech-

DHCP-letter.4.6.2022.pdf (last accessed April 29, 2022). The updated letter also

recalls the Optetrak Unicondylar Tibial Components; new Optetrak Total Knee

Replacement System Components; and clarifies that 143,484 non-confirming inserts

have been implanted in the US since 2004.

      45.    The “Urgent Medical Device Correction” further states that Exactech

was expanding the recall to include all knee arthroplasty polyethylene inserts packed

in nonconforming bags, regardless of label or shelf life. The components subject to


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the recall now included: OPTETRAK®: All-polyethylene CR Tibial Components,

All-polyethylene PS Tibial Components, CR Tibial Inserts, CR Slope Tibial Inserts,

PS Tibial Inserts, HI-FLEX® PS Tibial Inserts; OPTETRACK Logic®: CR Tibial

Inserts, CR Slope Tibial Inserts, CRC Tibial Inserts, PS Tibial Inserts, PSC Tibial

Inserts, CC Tibial Inserts; and TRULIANT®: CR Tibial Inserts, CR Slope Tibial

Inserts, CRC Tibial Inserts, PS Tibial Inserts, PSC Tibial Inserts, and OPTETRAK®

Unicondylar Tibial Components. Id.

       46.    Defendant further acknowledged the original Optetrak knee system has

shown statistically significant higher overall revision rates compared to other total

knee arthroplasties in the Australian, United Kingdom and New Zealand joint

registries. Id.

       47.    Specifically, reasons for revision associated with polyethylene wear,

including loosening, lysis, and pain, were increased three-to seven-fold with the

Optetrak total knee replacement combination of the Optetrak-PS/Optetrak according

to the 2021 Australian National Joint Replacement Registry with revision diagnoses

related to accelerated polyethylene wear possibly related to the non-conforming

packaging. Id.




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      48.    Implanting surgeons were advised in February 2022 to contact patients

previously implanted with recalled components and to schedule an evaluation if the

patient is experiencing any new or worsening knee swelling, pain while walking,

inability to bear weight, grinding or other noise, instability, or any new symptoms

of clicking in the knee. Id.

      49.    Furthermore, Defendant advised surgeons that revision surgery should

be considered for patients who exhibit premature polyethylene wear. Id.

      50.    Based on Defendant’s own representations, since 2004, Defendant

manufactured, promoted, and distributed the Optetrak Device without ensuring the

polyethylene components were properly packaged to prevent or minimize oxidation.

At no point until August 2021 did Defendant first modify the packaging in an effort

to address this defect.

      51.    In approximately 2017 – 2018, Exactech, Inc. was in the process of

being acquired by the Private Equity Group TPG Capital which in February 2018

successfully completed a merger agreement. As a result, TPG acquired all of the

issued and outstanding common stock of Exactech. In connection with the

transaction, Exactech’s founders, CEO and certain other management shareholders

exchanged a portion of their shares in the transaction, for new equity securities in


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the post-closing ownership of the Company. See Exactech Announces Completion

of   Merger      with     TPG      Capital        (Feb.   14,   2018)    available   at

https://www.exac.com/exactech-announces-completion-of-merger-with-tpg-

capital/ (last visited June 6, 2022).

      52.    Disclosure of knowledge of the improper packaging, excessive

premature failure rates, and or defects of the polyethylene components of

Defendant’s knee, hips, and ankle devices could have harmed this transaction.

      53.    At all times relevant to this action, Defendant was aware of the Optetrak

Devices’ propensity to undergo substantial early polyethylene wear consisting of the

degradation and breakdown of the plastic chemicals causing toxicity to the tissue

and bone and component loosening and/or other failure causing serious

complications including tissue damage, osteolysis, and other injuries as well as the

need for revision surgery and its attendant complications in patients.

      54.    At all times relevant to this action, Defendant failed to acknowledge the

manufacturing defects in the Optetrak Devices due to poor and inadequate quality

assurance procedures and due to a wanton and reckless disregard for public safety.

Defendant also failed to implement or utilize adequate safeguards, tests, inspections,




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validation, monitoring and quality assessments to ensure the safety of the Optetrak

Devices.

      55.    At the time the Optetrak Devices were manufactured and sold to

patients, including Plaintiff, the devices were defectively manufactured and

unreasonably dangerous, and did not conform to federal regulations because the

devices subjected patients to unreasonable risks of injury.

      56.    At all times relevant to this action, Defendant’s inadequate

manufacturing processes also led to material flaws in the quality systems at its

manufacturing, packaging, storage, and distribution facilities.

      57.    During the course of manufacturing and distributing the Optetrak

Devices, Defendant failed in several ways, including, without limitation, by:

      a.     failing to conduct adequate mechanical testing, including oxygen-

             resistance or other wear testing for the components, subassemblies,

             and/or finished Optetrak Devices;

      b.     failing to test an adequate number of sample devices on an ongoing

             basis;




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c.    failing to take adequate steps to specifically identify failure modes with

      clarity and to suggest methods to monitor, avoid, and/or prevent further

      failures;

d.    failing to identify and/or note the significance of any testing that

      resulted in failure of the Optetrak Devices;

e.    failing to take corrective actions to eliminate or minimize further

      failures of the Optetrak Devices;

f.    failing to adequately explain packaging specifications for the

      components, subassemblies, and/or finished Optetrak Devices;

g.    failing to perform adequate quality control before the components,

      subassemblies, and/or finished Optetrak Devices were distributed;

h.    failing to properly address reports from its sales representatives who

      reported their observations while attending revision surgeries where

      evidence of polyethylene debris and osteolysis was apparent and noted

      by the surgeons and the sales representatives themselves;

i.    failing to timely implement corrective action and investigations to

      understand the root cause of these failures while continuing to sell the




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             components knowing they would be implanted into the bodies of

             thousands of people; and

      j.     becoming aware of the potential cause or causes but unreasonably

             avoiding informing patients and surgeons and delaying the ability to

             minimize damages as the devices continued to degrade and do damage

             in the patients’ bodies.

      58.    On or before the date of Plaintiff’s initial knee replacement surgery,

Defendant knew or should have known the Optetrak Device was failing and causing

serious complications after implantation in patients. Such complications included,

but were not limited to, catastrophic polyethylene wear including the deposition of

plastic particulate wear debris throughout the knee, a high rate of component

loosening, and overall early system failure resulting in tissue destruction, osteolysis,

and other injuries causing severe pain, swelling, instability and dysfunction in the

knee and leg necessitating revision surgery.

      59.    Defendant as a manufacturer of orthopedic devices knew that each

surgery, especially a revision surgery, is always more complicated than an initial

knee replacement surgery and is fraught with serious risks of infection, anesthesia

errors, dislocations and other serious complications that should be avoided.


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       60.    Defendant, however, ignored reports of early failures of its Optetrak

Devices and failed to promptly investigate the cause of such failures or issue any

communications or warnings to orthopedic surgeons and other healthcare providers.

       61.    Before the date of Plaintiff’s initial knee replacement surgery,

Defendant knew or should have known that the Optetrak Device was defective and

unreasonably dangerous to patients, that the product had an unacceptable failure and

complication rate, and that the product had a greater propensity to undergo

substantial early polyethylene wear, component loosening and/or other failure

causing serious complications including tissue damage, osteolysis, and other injuries

as well as the need for revision surgery in patients.

     JACOB BRICKMAN’S IMPLANTS AND REVISION SURGERIES

       62.    In 2011, Plaintiff JACOB BRICKMAN underwent bilateral total knee

replacement surgery and was implanted with an Optetrak Device in each knee.

       63.    Plaintiff experienced extreme pain and discomfort in both knees which

limited his activities of daily living and his quality of life.

       64.    Plaintiff JACOB BRICKMAN underwent revision surgery on his left

knee on June 7, 2018, and the polyethylene liner and the entire femur and tibial

components were revised. Orthopedic surgeon Dr. David V. Craft’s operative notes


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in part that “[t]here was gross failure of the medial polyethylene as well as significant

erosion of the patella polyethylene. Neither was salvageable. The polyethylene

implant was loose on the patella and was removed with the oscillating saw.

Unfortunately, there were diffuse caseous bone loss from particle debris and giant

cell inflammation .… There was significant bone loss on both the posterior aspects

of the medial and lateral femoral condyles.”

       65.      On February 23, 2022, Plaintiff JACOB BRICKMAN underwent

revision surgery on his right knee.        Orthopedic surgeon Dr. Chad Krueger’s

operative notes report that “there was massive and gross soft tissue destruction and

bony destruction within his right knee. The patella button was free-floating. The

patella itself was quite mush and without any salvageable bone. The polyethylene

was grossly worn and removed by hand .…Our attention was then turned to the tibia,

which again had a large bony defects within the metaphysis and the end of the bone

itself.”

       66.      As a direct, proximate and legal consequence of the defective nature of

the Optetrak Device as described herein, Plaintiff has suffered and continues to

suffer permanent and debilitating injures and damages, including but not limited to,

significant pain and discomfort; gait impairment; poor balance; difficulty walking;


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component part loosening; soft tissue damage; bone loss; and other injuries presently

undiagnosed, which all require ongoing medical care.

      67.    As a further direct, proximate and legal consequence of the defective

nature of the Optetrak Device, Plaintiff has sustained and will sustain future

damages, including but not limited to cost of medical care; rehabilitation; home

health care; loss of earning capacity; mental and emotional distress and pain and

suffering.

                              CAUSES OF ACTION

                          FIRST CAUSE OF ACTION

             STRICT LIABILITY – MANUFACTURING DEFECT

      68.    Plaintiff hereby incorporates by reference the facts alleged in

paragraphs 1-67 of this Complaint as if fully set forth herein, and further alleges as

follows:

      69.    Prior to Plaintiff’s initial knee surgery, and at all times relevant this

action, Defendant tested, studied, researched, designed, formulated, manufactured,

inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or

sold the Optetrak Devices for implantation into consumers, such as Plaintiff, by

orthopedic surgeons in the United States.


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      70.    The Defendant had a duty to manufacture the Optetrak Devices in a

manner that prevents unreasonable risk of harm or injury to users and patients,

including Plaintiff.

      71.    The Defendant had a duty to distribute, market, and/or sell the Optetrak

Devices without manufacturing and related packaging defects to prevent an

unreasonable risk of harm or injury to users and patients, including Plaintiff.

      72.    The Optetrak Devices manufactured by the Defendant were not

reasonably safe for their expected, intended, and/or foreseeable uses, functions and

purposes.

      73.    The Optetrak Devices were not reasonably safe as manufactured,

packaged, distributed, marketed and/or sold by the Defendant.

      74.    The defects in manufacture of the Optetrak Device were a substantial

factor in causing Plaintiff’s injuries.

      75.    At all times herein mentioned, the Defendant tested, studied,

researched, designed, formulated, manufactured, inspected, labeled, packaged,

promoted, advertised, marketed, distributed, and/or sold Optetrak Devices, which

were implanted in Plaintiff, such that they were dangerous, unsafe, and defective in

manufacture. The defects in manufacture include but are not limited to:


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a.    failure to package the polyethylene components of the Optetrak

      Devices in vacuum bags that contain a secondary barrier layer

      containing ethylene vinyl alcohol (EVOH) as to prevent the

      components from undergoing increased oxidation and causing patients

      to experience substantial early polyethylene wear, component

      loosening and/or other failure causing serious complications including

      tissue damage, osteolysis, and other injuries as well as the need for

      revision surgery;

b.    the materials used to package the Optetrak Devices were of an inferior

      grade or quality;

c.    that the Optetrak Devices as manufactured differed from Defendant’s

      intended specifications;

d.    that Defendant failed to measure and/or test an adequate number of

      samples of Optetrak Devices on an ongoing basis;

e.    that Defendant failed to take corrective actions to eliminate or minimize

      further failures of the Optetrak Devices;

f.    that Defendant failed to perform adequate quality control or other such

      testing on the polyethylene inserts used in the Optetrak Devices to


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             ensure they complied with required specifications and were not

             prematurely degrading while stored;

      g.     failing to select appropriate third-parties to package the polyethylene

             inserts used in the Optetrak Devices;

      h.     failing to properly supervise and monitor the packaging of the

             polyethylene inserts used in the Optetrak Devices;

      i.     that Defendant failed to exercise sufficient quality control to ensure the

             polyethylene inserts in the Optetrak Devices were safe for implantation

             in users and patients and would not degrade abnormally under average

             and regular use; and

      j.     that Defendant violated applicable state and federal laws and

             regulations; and in all other ways.

      76.    Defendant knew or reasonably should have known and been aware that

the Optetrak Devices were defectively manufactured.

      77.    The manufacturing defects in the Optetrak Devices existed when the

device left the Defendant’s control.




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       78.     Plaintiff’s physician implanted the Optetrak Devices in the manner

intended and recommended to be used, making such use reasonably foreseeable to

Defendant.

       79.     The Optetrak Devices as tested, studied, researched, designed,

formulated, manufactured, inspected, labeled, packaged, promoted, advertised,

marketed, distributed, and/or sold by Defendant reached Plaintiff without substantial

change in their condition.

       80.     As alleged herein, Defendant knew or had reason to know that the

Optetrak Devices caused an increased risk of harm to the Plaintiff and other

consumers due to their propensity to undergo substantial early polyethylene wear,

component loosening, and/or other failure causing serious complications including

tissue damage, osteolysis, and other injuries as well as the need for revision surgery

in patients.

       81.     The manufacturing defects of the Optetrak Devices presented an

unreasonable risk of harm to users and patients exposed to their danger, including

Plaintiff, when used and operated for the purposes intended by Defendant.

       82.     The manufacturing defects of the Optetrak Devices presented an

unreasonable risk of harm to users and patients exposed to their danger, including


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Plaintiff, when they were used and operated in a manner that was foreseeable to

Defendant.

      83.    Plaintiff could not, by the exercise of reasonable care, have discovered

the manufacturing defect and perceived its dangers or avoided injury.

      84.    The Defendant is strictly liable for the defective manufacture of the

Optetrak Devices; the distribution, marketing, and/or sale of the defectively

manufactured Optetrak Devices; and the injuries sustained by Plaintiff.

      85.    By reason of the foregoing acts, omissions and conduct committed by

the Defendant, Plaintiff was caused to sustain serious personal injuries, conscious

pain and suffering, physical disability, mental anguish, emotional distress, fear, loss

of enjoyment of life, medical expenses, and financial losses.

      86.    By reason of the foregoing acts, omissions and conduct committed by

Defendant, Plaintiff was caused to sustain serious personal injuries, conscious pain

and suffering, and physical disability that will require continued and additional

medical treatment.

      87.    As a direct, proximate and legal consequence of the defective nature of

the Optetrak Devices as described herein Plaintiff JACOB BRICKMAN has suffered

and continues to suffer permanent and debilitating injures and damages, including


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but not limited to, significant pain and discomfort; gait impairment; poor balance;

difficulty walking; component part loosening; soft tissue damage; bone loss; and

other injuries presently undiagnosed, which all require ongoing medical care.

      88.    As a further direct, proximate and legal consequence of the defective

nature of the Optetrak Devices, Plaintiff has sustained and will sustain future

damages, including but not limited to cost of medical care; rehabilitation; home

health care; loss of earning capacity; mental and emotional distress; and pain and

suffering.

      89.    Defendant acted intentionally, recklessly, and wantonly, without regard

for Plaintiff’ rights beyond all standards of decency, entitling Plaintiff to recover

punitive damages.

      WHEREFORE, Plaintiff demands judgment against Defendant for

compensatory and punitive damages, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

                         SECOND CAUSE OF ACTION

                    STRICT LIABILITY – DESIGN DEFECT




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      90.    Plaintiff hereby incorporates by reference the facts alleged in

paragraphs 1-67 of this Complaint as if fully set forth herein, and further alleges as

follows:

      91.    Prior to Plaintiff’s initial knee replacement surgeries, and at all times

relevant this action, Defendant tested, studied, researched, designed, formulated,

manufactured, inspected, labeled, packaged, promoted, advertised, marketed,

distributed, and/or sold the Optetrak Devices for implantation into consumers, such

as Plaintiff, by orthopedic surgeons in the United States.

      92.    Defendant had a duty to design and package the Optetrak Devices in a

manner that did not present an unreasonable risk of harm or injury to users and

patients exposed to their danger, including Plaintiff.

      93.    Defendant had a duty to distribute, market, and/or sell the Optetrak

Devices with a design that did not present an unreasonable risk of harm or injury to

users and patients exposed to their danger, including Plaintiff.

      94.    The design of the Optetrak Devices and their corresponding packaging

is defective and not reasonably safe for their expected, intended, and/or foreseeable

uses, functions, and purposes.




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       95.   The Optetrak Devices and corresponding packaging are not reasonably

safe as designed, distributed, marketed, delivered, and/or sold by Defendant.

       96.   The defective design of the Optetrak Devices and packaging received

by Plaintiff’s implanting surgeon were a substantial factor in causing Plaintiff’

injuries.

       97.   At all times relevant to this action, the Defendant tested, studied,

researched, designed, formulated, manufactured, inspected, labeled, packaged,

promoted, advertised, marketed, distributed, and/or sold the Optetrak Devices,

which were implanted in Plaintiff, such that they was dangerous, unsafe, and

defective in design. The defects in the design include but are not limited to:

       a.    that the Optetrak Devices have propensity to undergo substantial early

             polyethylene wear, component loosening and/or other failure causing

             serious complications including tissue damage, osteolysis, and other

             injuries as well as the need for revision surgery in patients;

       b.    failure to design the packaging for the polyethylene components of the

             Optetrak Devices in vacuum bags that contain a secondary barrier layer

             containing ethylene vinyl alcohol (EVOH) as to prevent the

             components from undergoing increased oxidation and causing patients


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      to experience substantial early polyethylene wear, component

      loosening and/or other failure causing serious complications including

      tissue damage, osteolysis, and other injuries as well as the need for

      revision surgery;

c.    that the materials used within the Optetrak Devices and packaging were

      of an inferior grade or quality than advertised and promoted by

      Defendant;

d.    Defendant failed to conduct adequate testing, including wear or other

      testing, on components, subassemblies and/or the finished Optetrak

      Devices as packaged and distributed;

e.    Defendant failed to test an adequate number of samples of Optetrak

      Devices on an ongoing basis;

f.    Defendant failed to take adequate steps to specifically identify failure

      modes with the Optetrak Devices with clarity and to suggest methods

      to monitor, avoid, and/or prevent further failures;

g.    Defendant failed to identify and/or note the significance of any testing

      that resulted in failure of the Optetrak Devices;




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h.    Defendant failed to take corrective actions to eliminate or minimize

      further failures of the Optetrak Devices;

i.    Defendant failed to adequately design packaging specifications for the

      components, subassemblies, and/or the finished Optetrak Devices;

j.    The polyethylene material used in the Optetrak Devices, in conjunction

      with the inferior vacuum bags, caused and/or contributed to the devices

      having a higher failure rate than other similar devices available at the

      time the Optetrak Devices were put on the market;

k.    The polyethylene material used in the Optetrak Devices, in conjunction

      with the inferior vacuum bags, caused and/or contributed to the devices

      having a shorter effective lifetime than other similar devices available

      at the time the Optetrak Devices were put on the market;

l.    The Defendant’s method of manufacturing/processing the polyethylene

      insert and packaging was defective and increased the risk of users and

      patients suffering from pain, discomfort, injury and the need for

      revision surgery; and

m.    that Defendant violated applicable state and federal laws and

      regulations; and in all other ways.


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      98.    Defendant knew or reasonably should have known and been aware that

the Optetrak Devices and packaging were defectively designed.

      99.    The design defects in the Optetrak Devices and packaging existed when

the device left the Defendant’s control.

      100. Plaintiff’s physician implanted the Optetrak Devices in the manner in

which it was intended and recommended to be used, making such use reasonably

foreseeable to Defendant.

      101. The Optetrak Devices as tested, studied, researched, designed,

formulated, manufactured, inspected, labeled, packaged, promoted, advertised,

marketed, distributed, and/or sold by Defendant reached Plaintiff without substantial

change in its condition.

      102. As alleged herein, Defendant knew or had reason to know that the

Optetrak Devices caused an increased risk of harm to the Plaintiff and other

consumers due to the device’s propensity to undergo substantial early polyethylene

wear, component loosening, and/or other failure causing serious complications

including tissue damage, osteolysis, and other injuries as well as the need for

revision surgery in patients.




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      103. The Optetrak Devices and packaging as designed carried risks that were

outweighed by any utility of the design of the device and packaging because when

paired together, the Optetrak Devices were dangerous to an extent beyond that which

would be contemplated by the ordinary consumer. At no time did Plaintiff have

reason to believe that the Optetrak Devices and the packaging in which they were

received were in a condition not suitable for proper and intended use.

      104. The Optetrak Devices and packaging were defective in design and

unreasonably dangerous when they entered the stream of commerce and were

received by Plaintiff, because the foreseeable risks exceeded or outweighed the

purported benefits associated with the device.

      105. Feasible safer alternative designs providing the same functional

purpose were available to the Defendant at the time the Optetrak Devices were

designed and packaged and offered for sale in the market.

      106. Defendant could have utilized vacuum bags containing a secondary

barrier layer containing ethylene vinyl alcohol (EVOH) as to prevent the

polyethylene components from undergoing increased oxidation according to its own

admissions.




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       107. Defendant could have processed the polyethylene tibial insert to obtain

high crosslinking and greater removal of free radicals. The failure to process the

polyethylene to reduce the risk of early high volume polyethylene wear increased

the risk of failure.

       108. The design defects of the Optetrak Devices and corresponding

packaging presented an unreasonable risk of harm to users and patients exposed to

their danger, including Plaintiff, when used and operated for the purposes intended

by Defendant.

       109. The design defects of the Optetrak Devices and corresponding

packaging presented an unreasonable risk of harm to users and patients exposed to

their danger, including Plaintiff, when they were used and operated in a manner that

was foreseeable to Defendant.

       110. Plaintiff could not, by the exercise of reasonable care, have discovered

these design defects and perceived its dangers or avoided injury.

       111. The Defendant is strictly liable for the defective design of the Optetrak

Devices; defective design of the packaging of the Device; the distribution,

marketing, and/or sale of the Optetrak Device; and the injuries sustained by Plaintiff.




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        112. By reason of the foregoing acts, omissions and conduct committed by

the Defendant, Plaintiff was caused to sustain serious personal injuries, conscious

pain and suffering, physical disability, mental anguish, emotional distress, fear, loss

of enjoyment of life, medical expenses, and financial losses.

        113. By reason of the foregoing acts, omissions and conduct committed by

Defendant, Plaintiff was caused to sustain serious personal injuries, conscious pain

and suffering, and physical disability that will require continued and additional

medical treatment.

        114. As a direct, proximate and legal consequence of the defective nature of

the Optetrak Devices as described herein, Plaintiff JACOB BRICKMAN has

suffered and continues to suffer permanent and debilitating injures and damages,

including but not limited to, significant pain and discomfort; gait impairment; poor

balance; difficulty walking; component part loosening; soft tissue damage; bone

loss; and other injuries presently undiagnosed, which all require ongoing medical

care.

        115. As a further direct, proximate and legal consequence of the defective

nature of the Optetrak Devices, Plaintiff have sustained and will sustain future

damages, including but not limited to cost of medical care; rehabilitation; home


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health care; loss of earning capacity; mental and emotional distress; loss of

consortium and pain and suffering.

      116. Defendant acted intentionally, recklessly and wantonly without regard

for Plaintiff’ rights beyond all standards of decency, entitling Plaintiff to recover

punitive damages.

      WHEREFORE, Plaintiff demand judgment against Defendant for

compensatory and punitive damages, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

                          THIRD CAUSE OF ACTION

                 STRICT LIABILITY – FAILURE TO WARN

      117. Plaintiff hereby incorporates by reference the facts alleged in

paragraphs 1-67 of this Complaint as if fully set forth herein and further alleges as

follows:

      118. Prior to Plaintiff’s initial knee surgery, and at all times relevant this

action, Defendant tested, studied, researched, designed, formulated, manufactured,

inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or

sold the Optetrak Devices for implantation into consumers, such as Plaintiff, by

orthopedic surgeons in the United States.


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      119. Defendant had a duty to provide adequate warnings regarding the

Optetrak Devices in a manner that did not present an unreasonable risk of harm or

injury to users and patients exposed to their danger, including Plaintiff.

      120. Defendant had a duty to distribute, market, and/or sell the Optetrak

Devices with adequate warnings that did not present an unreasonable risk of harm

or injury to users and patients exposed to their danger, including Plaintiff.

      121. The warnings that accompanied the Optetrak Devices and

corresponding packaging were defective thereby making the product not reasonably

safe for its expected, intended, and/or foreseeable uses, functions and purposes.

      122. The Optetrak Devices and corresponding packaging are not reasonably

safe as labeled, distributed, marketed, delivered and/or sold by Defendant.

      123. Inadequate labeling accompanying the Optetrak Devices and packaging

received by Plaintiff’s implanting surgeon proximately caused Plaintiff’ injuries.

      124. At all times relevant to this action, the Defendant tested, studied,

researched, designed, formulated, manufactured, inspected, labeled, packaged,

promoted, advertised, marketed, distributed, and/or sold the Optetrak Devices,

which were implanted in Plaintiff, such that they were dangerous, unsafe, and

defective.


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      125. The Optetrak Devices were defective and unreasonably dangerous

when they entered the stream of commerce and was received by Plaintiff, because

the warnings in the instructions for use, operative techniques, directions, marketing

and promotional materials, advertisements, white papers, and other communications

provided by Defendant or its sales force to physicians and patients with or about the

Optetrak Devices failed to adequately convey the potential risks and side effects of

the Optetrak Devices and their dangerous propensities, which risks were known or

were reasonably scientifically knowable to Defendant.

      126. In particular, Defendant failed to adequately disclose the device’s

propensity to undergo substantial early polyethylene wear, component loosening

and/or other failure causing serious complications including tissue damage, bone

loss, osteolysis, and other injuries as well as the need for revision surgery in patients.

Defendant failed to warn, disclose, and/or notify surgeons, specifically Plaintiff’s

surgeon that the device at issue was at a greater risk of adverse local tissue damage

due to its propensity to generate high volume of polyethylene wear.

      127. Defendant failed to adequately warn, disclose, and/or notify surgeons,

specifically Plaintiff’s surgeon that the polyethylene tibial insert was at a greater risk

of early high polyethylene wear than other alternative designs.


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      128. Defendant failed to warn, disclose, and/or notify surgeons, specifically

Plaintiff’s surgeon that its process of manufacturing the tibial insert created a device

that was at greater risk of early high polyethylene wear.

      129. Defendant consciously disregarded the increased risks of harm by

failing to adequately warn of such risks; unlawfully concealing the dangerous

problems associated with implantation of the Optetrak Devices; and continuing to

market, promote, sell and defend the Optetrak Devices until the very recent recall.

      130. Defendant knew or reasonably should have known and been aware that

the Optetrak Devices and packaging contained inadequate warnings.

      131. The inadequate warnings for the Optetrak Devices existed when the

devices left the Defendant’s control.

      132. Plaintiff’s physician implanted the Optetrak Devices in the manner

intended and recommended to be used, making such use reasonably foreseeable to

Defendant.

      133. The Optetrak Devices as tested, studied, researched, designed,

formulated, manufactured, inspected, labeled, packaged, promoted, advertised,

marketed, distributed, and/or sold by Defendant reached Plaintiff without substantial

change in its condition.


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       134. As alleged herein, Defendant knew or had reason to know that the

Optetrak Devices caused an increased risk of harm to the Plaintiff and other

consumers due to their propensity to generate early high volume polyethylene wear,

component loosening, and/or other failure causing serious complications including

tissue damage, osteolysis, and other injuries as well as the need for revision surgery

in patients.

       135. The Optetrak Devices that were labeled, manufactured, distributed, and

sold by the Defendant to Plaintiff were in a defective condition that was

unreasonably dangerous to any user or ordinary consumer of the device, including

Plaintiff.

       136. The labeling defects of the Optetrak Devices and corresponding

packaging presented an unreasonable risk of harm to users and patients exposed to

its danger, including Plaintiff, when the Devices were used and operated for the

purposes intended by Defendant.

       137. The labeling defects of the Optetrak Devices and corresponding

packaging presented an unreasonable risk of harm to users and patients exposed to

their danger, including Plaintiff, when they were used and operated in a manner that

was foreseeable to Defendant.


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       138. Plaintiff could not, by the exercise of reasonable care, have discovered

these defects and perceived its dangers or avoided injury.

       139. Defendant failed to issue new warnings or initiate a recall in a timely

manner as to help minimize the damage and bone loss occurring in patients,

including Plaintiff.

       140. The Defendant is strictly liable for providing inadequate warnings

accompanying the Optetrak Devices and packaging of the Devices; the distribution,

marketing, and/or sale of the Optetrak Devices; and the injuries sustained by

Plaintiff.

       141. By reason of the foregoing acts, omissions and conduct committed by

the Defendant, Plaintiff was caused to sustain serious personal injuries, conscious

pain and suffering, physical disability, mental anguish, emotional distress, fear, loss

of enjoyment of life, medical expenses, and financial losses.

       142. By reason of the foregoing acts, omissions and conduct committed by

Defendant, Plaintiff was caused to sustain serious personal injuries, conscious pain

and suffering, and physical disability that will require continued and additional

medical treatment.




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        143. As a direct, proximate and legal consequence of the defective nature of

the Optetrak Devices as described herein, Plaintiff JACOB BRICKMAN has

suffered and continues to suffer permanent and debilitating injures and damages,

including but not limited to, significant pain and discomfort; gait impairment; poor

balance; difficulty walking; component part loosening; soft tissue damage; bone

loss; and other injuries presently undiagnosed, which all require ongoing medical

care.

        144. As a further direct, proximate and legal consequence of the defective

nature of the Optetrak Devices, Plaintiff have sustained and will sustain future

damages, including but not limited to cost of medical care; rehabilitation; home

health care; loss of earning capacity; mental and emotional distress; loss of

consortium and pain and suffering.

        145. Defendant acted intentionally, recklessly and wantonly without regard

for Plaintiff’ rights beyond all standards of decency, entitling Plaintiff to recover

punitive damages.

        146. WHEREFORE, Plaintiff demand judgment against Defendant for

compensatory and punitive damages, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.


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                         FOURTH CAUSE OF ACTION

                                  NEGLIGENCE

      147. Plaintiff hereby incorporates by reference the facts alleged in

paragraphs 1-67 of this Complaint as if fully set forth herein and further alleges as

follows:

      148. Prior to Plaintiff’s initial knee implants, and at all times relevant this

action, Defendant tested, studied, researched, designed, formulated, manufactured,

inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or

sold the Optetrak Devices for implantation into consumers, such as Plaintiff, by

orthopedic surgeons in the United States.

      149. Prior to, on, and after the dates of Plaintiff’s initial knee surgeries, and

at all times relevant to this action, Defendant had a duty to exercise reasonable care

in testing, study, research, design, formulation, manufacture, inspection, labeling,

packaging, promotion, advertisement, marketing, distribution and sale of the

Optetrak Devices for implantation into consumers, such as Plaintiff, by physicians

and surgeons in the United States.

      150. Prior to, on, and after the dates of Plaintiff’s initial knee surgery,

Defendant breached this duty and failed to exercise reasonable care and were grossly


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negligent and careless in the testing, study, research, design, formulation,

manufacture, inspection, labeling, packaging, promotion, advertisement, marketing,

distribution and sale of the Optetrak Devices.

      151. Following Plaintiff’s initial knee surgery, Defendant breached this duty

and failed to exercise reasonable care and were grossly negligent and careless in

failing to recall the Optetrak Devices.

      152. At all times material hereto, the Defendant had actual knowledge, or in

the alternative, should have known through the exercise of reasonable and prudent

care, of the hazards and dangers associated with the Optetrak Devices.

      153. Defendant had access to registry data and were aware of complaints that

the Optetrak Devices caused serious complications including but not limited to

polyethylene wear and/or other failure causing serious complications including

component loosening, tissue damage, osteolysis, bone loss and the need for revision

surgery in patients.

      154. Despite the fact Defendant knew or should have known the Optetrak

Devices posed a serious risk of bodily harm to consumers, Defendant continued to

manufacture and market the Optetrak Device for implantation into consumers.




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      155. Despite the fact Defendant knew or should have known the Optetrak

Devices posed a serious risk of bodily harm to consumers, Defendant continued to

manufacture and market the Optetrak Devices for implantation into consumers

without revising any warning language or issuing an earlier recall.

      156. Defendant failed to advise surgeons and patients of the need for regular

follow up beyond the ordinary practices after a total knee implant as to promptly

detect polyethylene degradation and osteolytic failure and timely revise the device

to prevent or at least minimize bone loss, osteolysis and related injuries.

      157. Defendant failed to exercise due care under the circumstances, and its

negligence and recklessness includes the following acts and omissions:

      a.     Negligently failing to properly package the polyethylene components

             of the Optetrak Devices;

      b.     Negligently failing to select appropriate third-parties to package the

             polyethylene inserts used in the Optetrak Devices;

      c.     Negligently failing to properly supervise and monitor the packaging

             of the polyethylene inserts used in the Optetrak Devices;

      d.     Negligently failing to properly and thoroughly select the material that

             would be used in the packaging of the Optetrak Devices;


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e.    Negligently failing to properly process/manufacture the materials that

      would be used in the Optetrak Devices;

f.    Negligently failing to properly and adequately test the Optetrak

      Devices and its attendant parts before releasing the devices to market;

g.    Negligently failing to conduct sufficient post-market testing and

      surveillance of the Optetrak Devices;

h.    Negligently failing to adequately prevent, identify, mitigate, and fix

      defective designs and hazards associated with the Optetrak Devices in

      accordance with good practices;

i.    Negligently designing, manufacturing, marketing, advertising,

      distributing, and selling the Optetrak Devices;

j.    Continuing to negligently manufacture, and distribute the Optetrak

      Devices after the Defendant knew or should have known of their

      adverse effects and/or the increased early onset failure rates;

k.    Negligently designing, manufacturing, marketing, advertising,

      distributing, and selling the Optetrak Devices to consumers, including

      Plaintiff, without an adequate warning of the dangerous risks of the

      Optetrak Devices;


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l.    Negligently failing to notify and warn the public, including Plaintiff,

      and physicians of reported incidents involving injury and the negative

      health effects attendant to the use of the Optetrak Devices;

m.    Negligently misrepresenting the safety of the Optetrak Devices;

n.    Negligently failing to provide warnings, instructions or other

      information that accurately reflected the risks of failure of the

      Optetrak Devices;

o.    Negligently failing to provide warnings, instructions or other

      information that accurately reflected the risks of early degradation of

      the polyethylene substance in the Optetrak Devices;

p.    Negligently failing to exercise due care in the advertisement and

      promotion of the Optetrak Devices;

q.    Negligently disseminating information that was inaccurate, false, and

      misleading, and which failed to communicate accurately or adequately

      the high early failure rate associated with the implantation of the

      Optetrak Devices;




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r.    Aggressively promoting the Optetrak Devices without proper

      warnings of the risk of early failure or material degradation in the

      average user;

s.    Aggressively promoting the Optetrak Devices even after Defendant

      knew or should have known of the unreasonable risks from

      implantation;

t.    Negligently failing to warn consumers, doctors, users and patients that

      the Optetrak Devices would contain polyethylene materials not

      properly packaged and/or in accordance with Defendant’s

      specifications;

u.    Negligently diminishing or hiding the risks associated with the

      implantation of the Optetrak Devices;

v.    Negligently failing to recall the Optetrak Devices at an earlier date

      and institute a process to have patients notified;

w.    Negligently failing to inform surgeons within a reasonable time of the

      recall of the Optetrak Devices;

x.    Negligently violating applicable state and federal laws and

      regulations; and in all other ways.


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      158. Defendant knew and/or should have known that it was foreseeable that

consumers such as Plaintiff would suffer injuries as a result of Defendant’s failure

to exercise ordinary care in the manufacture, design, testing, assembly, inspection,

labeling, packaging, supplying, marketing, selling, advertising, preparing for use,

warning of the risks and dangers of the defective implants, and otherwise distributing

the Optetrak Devices.

      159. By reason of the foregoing acts, omissions and conduct committed by

the Defendant, Plaintiff was caused to sustain serious personal injuries, conscious

pain and suffering, physical disability, mental anguish, emotional distress, fear, loss

of enjoyment of life, medical expenses, and financial losses.

      160. By reason of the foregoing acts, omissions and conduct committed by

Defendant, Plaintiff was caused to sustain serious personal injuries, conscious pain

and suffering, and physical disability that will require continued and additional

medical treatment.

      161. As a direct and proximate result of Defendant’s acts and omissions,

including its failure to exercise ordinary care in the design, formulation, testing,

manufacture, labeling, sale, and distribution of the Optetrak Devices, Plaintiff

JACOB BRICKMAN was implanted with the Optetrak Device and was caused to


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sustain serious personal injuries, conscious pain and suffering, physical disability,

mental anguish, emotional distress, fear, loss of enjoyment of life, medical expenses,

and financial losses.

      162. As a further direct, proximate and legal consequence of Defendant’s

acts and omissions, including its failure to exercise ordinary care in the design,

formulation, testing, manufacture, labeling, sale, and distribution of the Optetrak

Devices, Plaintiff have sustained and will sustain future damages, including but not

limited to cost of medical care; rehabilitation; home health care; loss of earning

capacity; mental and emotional distress; loss of consortium and pain and suffering.

      163. Defendant acted intentionally, recklessly and wantonly without regard

for Plaintiff’ rights beyond all standards of decency, entitling Plaintiff to recover

punitive damages.

      WHEREFORE,         Plaintiff   demand    judgment     against   Defendant    for

compensatory and punitive damages, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.

                          FIFTH CAUSE OF ACTION

                    NEGLIGENT MISREPRESENTATION




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      164. Plaintiff hereby incorporates by reference the facts alleged in

paragraphs 1-67 of this Complaint as if fully set forth herein and further alleges as

follows:

      165. Prior to Plaintiff’s initial knee surgeries, and at all times relevant this

action, Defendant tested, studied, researched, designed, formulated, manufactured,

inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or

sold the Optetrak Devices for implantation into consumers, such as Plaintiff, by

orthopedic surgeons in the United States.

      166. Defendant owed a duty to orthopedic surgeons, other healthcare

providers, and consumers of the Optetrak Devices, including Plaintiff, to accurately

and truthfully represent the risks of the Optetrak Devices. Defendant breached its

duty by misrepresenting and/or failing to warn Plaintiff’s orthopedic surgeon, the

medical community, Plaintiff, and the public about the risks of the Optetrak Devices,

including their propensity to generate early high volume polyethylene wear, debris,

component loosening and/or other failure causing serious complications including

tissue damage, osteolysis, and other injuries as well as the need for revision surgery

in patients, which Defendant knew or in the exercise of diligence should have

known.


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      167. The Defendant, as the designer, manufacturer, seller, promoter, and/or

distributor of the Optetrak Devices knew, or reasonably should have known, that

health care professionals and consumers of the Optetrak Devices would rely on

information disseminated and marketed to them regarding the product when

weighing the potential benefits and potential risks of implanting Optetrak Devices.

      168. The Defendant, as the designer, manufacturer, seller, promoter, and/or

distributor of the Optetrak Devices knew, or reasonably should have known, that the

patients implanted with Optetrak Devices would suffer early failure and require

revision surgery because the information disseminated by Defendant and relied upon

by health care professionals and consumers, including Plaintiff, was materially

inaccurate, misleading, or otherwise false.

      169. The Defendant failed to exercise reasonable care to ensure that the

information they disseminated to health care professionals and consumers

concerning the quality and longevity of the Optetrak Devices was accurate,

complete, and not misleading. As a result, Defendant disseminated information to

health care professionals and consumers that was materially inaccurate, misleading,

false, and unreasonably dangerous to consumers such as Plaintiff.




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      170. Among Defendant’s numerous misrepresentations and misleading

omissions are Defendant’s assurances that the Optetrak Devices were safe, had an

excellent performance record, and was at low risk for high volume polyethylene

wear debris, component loosening and/or other failure causing serious complications

including tissue damage, osteolysis and other injuries as well as the need for revision

surgery in patients.

      171. Despite its knowledge of serious problems with the Optetrak Devices,

Defendant urged its sales representatives to continue marketing the Optetrak

Devices, and distributed medical literature, white papers, non-peer reviewed studies,

and other communications to surgeons in an effort to mislead them and the general

public about the risks associated with the Optetrak Devices and instead create the

image and impression that the Optetrak Devices were safe.

      172. Defendant made such statements even after they became aware of

numerous and serious complications with the Optetrak Devices. Defendant did not

reveal (and instead concealed) its knowledge of numerous and serious complications

and other bad data.

      173. Defendant made these representations with the intent to induce reliance

thereon, and to encourage purchase and implantation of the Optetrak Device.


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      174. The misrepresentations made by Defendant, in fact were false and

known by Defendant to be false at the time the misrepresentations were made and

were made prior to Plaintiff’s index surgeries in 2011.

      175. Misrepresentations spanned a number of years, but also include the

critical time period of 2017 – 2018 when the company was in the process of being

acquired by the Private Equity Group TPG Capital which in February 2018

successfully completed a merger agreement. As a result, TPG acquired all of the

issued and outstanding common stock of Exactech. In connection with the

transaction, Exactech’s founders, CEO and certain other management shareholders

exchanged a portion of their shares in the transaction, for new equity securities in

the post-closing ownership of the Company. See Exactech Announces Completion

of   Merger      with     TPG      Capital        (Feb.   14,   2018)   available   at

https://www.exac.com/exactech-announces-completion-of-merger-with-tpg-

capital/ (last visited June 6, 2022).

      176. Full disclosure of the magnitude of the problem with the polyethylene

failure might have negatively impacted the merger prospects and the merger may

have been one of the reasons the problems were concealed. Nevertheless, after the

merger in 2018, it still took four years for Defendant to reveal the product defects


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and their health consequences to the medical community and to the patients,

including Plaintiff, even though the key officers of Exactech generally continued

with their roles in the newly merged company.

      177. Defendant failed to exercise ordinary care in making its representations

concerning the Optetrak Devices and, in the manufacture, sale, testing, quality

assurance, quality control, and distribution in interstate commerce of the Optetrak

Devices.

      178. Defendant’s misrepresentations were knowingly made to Plaintiff’s

surgeon, relied upon by him, and proximately caused Plaintiff’s injuries.

      179. By reason of the foregoing acts, omissions and conduct committed by

the Defendant, Plaintiff was caused to sustain serious personal injuries, conscious

pain and suffering, physical disability, mental anguish, emotional distress, fear, loss

of enjoyment of life, medical expenses, and financial losses.

      180. By reason of the foregoing acts, omissions and conduct committed by

Defendant, Plaintiff was caused to sustain serious personal injuries, conscious pain

and suffering, and physical disability that will require continued and additional

medical treatment.




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      181. As a direct and proximate result of Defendant’s acts and omissions,

including Defendant’s negligent misrepresentations regarding the Optetrak Devices,

Plaintiff JACOB BRICKMAN was implanted with the Optetrak Device in both

knees, and was caused to sustain serious personal injuries, conscious pain and

suffering, physical disability, mental anguish, emotional distress, fear, loss of

enjoyment of life, medical expenses, and financial losses.

      182. As a further direct, proximate and legal consequence of Defendant’s

acts and omissions, including Defendant’s negligent misrepresentations regarding

the Optetrak Devices, Plaintiff have sustained and will sustain future damages,

including but not limited to cost of medical care; rehabilitation; home health care;

loss of earning capacity; mental and emotional distress; loss of consortium and pain

and suffering.

      183. Defendant acted intentionally, recklessly and wantonly without regard

for Plaintiff’ rights beyond all standards of decency, entitling Plaintiff to recover

punitive damages.

      WHEREFORE, Plaintiff demands judgment against Defendant for

compensatory and punitive damages, together with interest, costs of suit, attorneys’

fees and all such other relief as the Court deems proper.


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                          SIXTH CAUSE OF ACTION

                    BREACH OF EXPRESS WARRANTY

      184. Plaintiff hereby incorporates by reference the facts alleged in

paragraphs 1-67 of this Complaint as if fully set forth herein and further allege as

follows:

      185. Prior to Plaintiff’s initial knee surgeries, and at all times relevant this

action, Defendant tested, studied, researched, designed, formulated, manufactured,

inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or

sold the Optetrak Devices for implantation into consumers, such as Plaintiff, by

orthopedic surgeons in the United States.

      186. Defendant expressly warranted the Optetrak Devices, including the

Optetrak Comprehensive Total Knee System and/or the Optetrak Logic

Comprehensive Knee System, were safe and effective orthopedic devices.

      187. Defendant promised that the Optetrak Devices had excellent long-term

clinical outcomes and that “surgeons and patients can have every confidence in the

performance and longevity of the Optetrak knee system.”




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       188. At the time Defendant manufactured, marketed, sold and/or distributed

the Optetrak Devices, they knew that the devices were intended for human use, and

that Plaintiff was a foreseeable user of the Optetrak Devices.

       189. The express warranties represented by Defendant were a part of the

basis for Plaintiff’s use of the Optetrak Devices, and he and his surgeon relied on

these warranties in deciding to use the Optetrak Device.

       190. At the time of the making of the express warranties, Defendant had

knowledge of the purpose for which the Optetrak Devices were to be used and

warrantied the same to be in all respects safe, effective and proper for such purpose.

       191. The Optetrak Devices do not conform to these express representations

as demonstrated by the fact that Plaintiff’s implant failed prematurely due to reasons

related to the recall and defects with the device and he is scheduled to undergo

revision surgery.

       192. At the time Defendant marketed, sold and/or distributed the Optetrak

Devices, Defendant expressly warranted that the total knee replacement systems,

including all of their component parts, were safe and merchantable for their intended

use.




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      193. Plaintiff JACOB BRICKMAN and his implanting physician reasonably

relied upon Defendant’s express warranties.

      194. Plaintiff JACOB BRICKMAN used the Optetrak Device for its

intended purpose, and in a reasonable foreseeable manner.

      195. The Optetrak Devices manufactured and sold by Defendant, did not

conform to Defendant’s express representations because the Optetrak Devices

caused serious injury to Plaintiff when used as recommended and directed.

      196. As a direct and proximate result of Defendant’s acts and omissions,

including breach of express warranty, Plaintiff JACOB BRICKMAN was implanted

in both knees with an Optetrak Device and was caused to sustain serious personal

injuries, conscious pain and suffering, physical disability, mental anguish, emotional

distress, fear, loss of enjoyment of life, medical expenses, and financial losses.

      197. As a further direct, proximate and legal consequence of Defendant’s

acts and omissions, including breach of express warranty, Plaintiff have sustained

and will sustain future damages, including but not limited to cost of medical care;

rehabilitation; home health care; loss of earning capacity; mental and emotional

distress; loss of consortium and pain and suffering.




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        WHEREFORE,        Plaintiff   demand    judgment    against   Defendant       for

compensatory damages, together with interest, costs of suit, attorneys’ fees and all

such other relief as the Court deems proper.

                         SEVENTH CAUSE OF ACTION

                      BREACH OF IMPLIED WARRANTY

        198. Plaintiff hereby incorporates by reference the facts alleged paragraphs

1-67 of this Complaint as if fully set forth herein and further alleges as follows:

        199. Prior to Plaintiff’s initial knee surgery, and at all times relevant this

action, Defendant tested, studied, researched, designed, formulated, manufactured,

inspected, labeled, packaged, promoted, advertised, marketed, distributed, and/or

sold the Optetrak Devices for implantation into consumers, such as Plaintiff, by

orthopedic surgeons in the United States.

        200. Defendant impliedly warranted, through its marketing, advertising,

distributors and sales representatives, that the Optetrak Devices were of

merchantable quality, and fit for the ordinary purposes and uses for which it was

sold.

        201. In fact, the Optetrak Devices were not of merchantable quality nor fit

for the ordinary purposes and uses for which they were sold and did not meet the


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expectations of consumers. The Optetrak Devices manufactured and supplied by

Defendant was not of merchantable quality and was not fit for the ordinary and/or

particular purpose for which it was intended as physicians and patients would expect

the components to be properly packaged and stored as to avoid premature

degradation of component materials.

      202. Plaintiff JACOB BRICKMAN and/or his physician reasonably relied

upon the skill and judgment of Defendant as to whether the Optetrak Devices were

of merchantable quality and safe for its intended and particular use and purpose.

      203. Contrary to such implied warranties, the Optetrak Devices were not of

merchantable quality or safe for their intended and particular uses and purposes,

because Defendant failed to package the polyethylene components of the Optetrak

Devices in vacuum bags containing a secondary barrier layer containing ethylene

vinyl alcohol (EVOH) as to prevent the components from undergoing increased

oxidation and causing patients to experience substantial early polyethylene wear,

component loosening and/or other failure causing serious complications including

tissue damage, osteolysis, and other injuries as well as the need for revision surgery.

      204. As a direct and proximate result of Defendant’s acts and omissions,

including breach of implied warranties, Plaintiff JACOB BRICKMAN was


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implanted with an Optetrak Device in each knee and was caused to sustain serious

personal injuries, conscious pain and suffering, physical disability, mental anguish,

emotional distress, fear, loss of enjoyment of life, medical expenses, and financial

losses.

      205. As a further direct, proximate and legal consequence of Defendant’s

acts and omissions, including breach of implied warranties, Plaintiff has sustained

and will sustain future damages, including but not limited to cost of medical care;

rehabilitation; home health care; loss of earning capacity; mental and emotional

distress; loss of consortium and pain and suffering.

      WHEREFORE, Plaintiff demands judgment against Defendant for

compensatory damages, together with interest, costs of suit, attorneys’ fees and all

such other relief as the Court deems proper.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands judgment against Defendant as follows:

      a. Judgment in favor of Plaintiff and against Defendant, for damages in such

            amounts as may be proven at trial;

      b. Compensation for both economic and non-economic losses, including but

            not limited to medical expenses, loss of earnings, loss of consortium,


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         disfigurement, pain and suffering, mental anguish, and emotional distress,

         in such amounts as may be proven at trial;

    c. Punitive and/or exemplary damages in such amounts as may be proven at

         trial;

    d. Attorneys’ fees and costs;

    e. Interest; and

    f. Any and all further relief, both legal and equitable, that the Court may

         deem just and proper.



    JURY TRIAL DEMANDED.



DATED:       June 14, 2022

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